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 5   Attorneys for Debtors
 6                         IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF ARIZONA
 7
     In re                                                   In Proceedings Under
 8
                                                             Chapter 11
 9   AARON COLE RUBIN AND JESSICA
                                                             CASE NO. 4:13-bk-01496-BMW
     MARIE RUBIN
10                                                           INDIVIDUAL DEBTORS'
                             Debtors.                        DISCLOSURE STATEMENT
11                                                           IN SUPPORT OF PLAN OF
                                                             REORGANIZATION
12

13                  Attached hereto as Exhibit "A" is a chapter 11 plan (the "Plan") proposed by the above-
14   named individual Debtors. The Debtors attest that the information stated in this Disclosure Statement
15   and the Plan is accurate. All creditors should refer to Articles I-IV of the Plan for the specific
16   treatment of their claims. This Disclosure Statement is explanatory only; the language used in the
17   Plan is binding. Your rights may be affected. You should read these papers carefully and
18   discuss them with your attorney, if you have one.
19   EFFECTIVE DATE OF THE PLAN: The Effective Date of the Plan is 14 days following the date
20   of entry of the order confirming the Plan unless a stay of the confirmation order is in effect, in which
21   case the Effective Date will be the first business day after the date on which the stay of the
22   confirmation order has been lifted, provided that the confirmation order has not been vacated.
23   I.      PROPOSED TREATMENT OF CLAIMS
24           A.     Unclassified Claims Including Administrative Priority Claim, Priority Tax
25   Claims, and Gap Claims
26                  Holders of administrative priority claims are entitled to priority pursuant to § 507(a)(2)
27   of the Bankruptcy Code including (i) professional fees and costs; (ii) United States Trustee's fees; and
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     (iii) postpetition domestic support obligations. Such claims shall be paid in full on, or as soon as
 2
     practicable after, the Effective Date or upon allowance of such claim, whichever is later.
 3
                     Holders of priority tax claims are entitled to priority under § 507(a)(8). Such claims
 4
     shall be paid in full over five years from the date of the entry of the order for relief with statutory
 5
     interest in equal monthly amortized payments according to § 511 of the Bankruptcy Code. See Article
 6
     I.C. of the Plan.
 7
             B.      Secured Creditors (Classes 2, 3, 4, 5 and 6)
 8
                     See Article II of the Plan.
 9
             C.      Priority Unsecured Creditors
10
                     None
11
             D.      General Unsecured Creditors (Classes 7(a) and 7(b)
12
             Class 7(a): A creditor whose allowed claim is $_________________ or less or who elects to
13
     reduce its allowed claim to $__________________ will receive a single payment equal to 100% of its
14
     allowed claim on, or as soon as practicable after, the Effective Date of the Plan. See Article II of the
15
     Plan.
16
     7       Class 7(b): Under § 1129(a)(15), if an unsecured creditor objects to confirmation, an
17
     individual debtor must either pay the present value of that unsecured claim in full or make
18
     distributions under the plan totaling at least the value of the debtor's net disposable income over the
19
     greater of (a) five years or (b) the period for which the plan provides payments. However,
20
     § 1129(a)(15) should be read and applied n conjunction with § 1123(a)(4) which provides that a
21
     chapter 11 plan must provide the same treatment for each claim in the same particular class. See
22
     Article II of the chapter 11 Plan.
23
                     Undisputed Class 7 claims, as of this date, are listed in Exhibit "B" to the Disclosure
24
     Statement. Undisputed general unsecured creditors shall receive an annual pro rata distribution of the
25
     Debtors’ net disposable Income
26

27

28

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             E.      Executory Contracts and Unexpired Leases
 2
                     (1)     Executory Contracts and Leases Assumed. On the Effective Date, the Debtors
 3
     shall assume the executory contracts and unexpired leases enumerated in Exhibit "C" to the Disclosure
 4
     Statement and shall perform all obligations thereunder, both preconfirmation and postconfirmation.
 5
                     Any preconfirmation arrearages shall be paid by the Effective Date, unless the parties
 6
     agree otherwise or the court finds that a proposed payment schedule provides timely cure and
 7
     adequate assurance of future performance. Postconfirmation obligations will be paid as they come
 8
     due.
 9
                     (2)     Executory Contracts and Leases Rejected. The Debtors are conclusively
10
     deemed to have rejected all executory contracts and/or unexpired leases not previously assumed or
11
     listed in Exhibit "C" to the Disclosure Statement as of the Effective Date. Claims arising from the
12
     rejection of an executory contract or unexpired lease under this section are general unsecured claims
13
     in Class 7, except to the extent this court orders otherwise. A proof of claim arising from the rejection
14
     of an executory contract or unexpired lease under this section must be filed no later than 30 days after
15
     the date of the order confirming this Plan.
16
             F.      Discharge
17
                     Upon completion of the payments under the Plan, the Debtors may receive a discharge
18
     of preconfirmation debts, except such discharge shall not discharge the Debtor from any debts that are
19
     nondischargeable under § 523 or are obligations created by this Plan. The payments promised in the
20
     Plan constitute new contractual obligations that replace the preconfirmation debts proposed to be
21
     discharged. Creditors may not sue to collect on these obligations so long as the Debtors are not in
22
     material default under the Plan. If the Debtors materially default in performing the Plan, affected
23
     creditors may sue the Debtors to enforce the terms of the Plan or to dismiss this case or to convert it to
24
     a case under chapter 7 of the Bankruptcy Code. See Article VI of the Plan.
25
     II.     VOTING ON CONFIRMATION OF PLAN
26
             A.      Who May Vote: Only impaired creditors are entitled to vote (see § 1124). A creditor
27
     is entitled to vote on confirmation of the Plan unless (i) the creditor's class is unimpaired (presumed to
28

                                                        3
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     accept the Plan) or is to receive no distribution (presumed to reject the Plan); (ii) an objection has
 2
     been filed to that creditor's claim; (iii) that creditor's claim is scheduled by the Debtors as contingent,
 3
     disputed, unliquidated or unknown and the creditor has not filed a proof of claim; or (iv) the claim is
 4
     unclassified (and thus required by law to be paid in full). A creditor whose claim has either been
 5
     objected to or has been scheduled by the Debtors as contingent, disputed, unliquidated or unknown or
 6
     who has not filed a proof of claim, and who wishes to vote, must move to have it claim allowed for
 7
     voting purposes by filing a motion for such relief in time for that motion to be heard before the
 8
     hearing on confirmation of the Plan. A creditor whose claim has been allowed in part as a secured
 9
     claim and in part as an unsecured claim is entitled to accept or reject a Plan in each capacity by
10
     delivering one ballot for the secured part of the claim and another ballot for the unsecured portion of
11
     the claim.
12
             B.      How to Vote: A voting creditor must fill out and return the attached ballot so that it is
13
     received by the Plan proponent no later than ______________________ at the following address:
14
                     Scott D Gibson
15                   Thompson Krone Gibson, PLLC
16                   6303 E Tanque Verde Rd, Suite 210
                     Tucson, AZ 85715
17

18           C.      Effect of Vote: The Plan will be confirmed only if (i) it is accepted by each impaired

19   class, or (ii) it is accepted by at least one impaired class exclusive of insiders (as defined by § 101(31)

20   and the court determines that the Plan is "fair and equitable" (as defined by § 1129(b)) to all rejecting

21   classes of creditors, and it meets all of the other criteria required for confirmation. A class of creditors

22   accepts the Plan if it is accepted by a majority in number and at least two-thirds in dollar amount of

23   the creditors in that class timely voting.

24   III.    SOURCE(S) OF PAYMENTS UNDER THE PLAN

25                   The Debtors intend to make the payments required under the Plan from the following

26   sources:

27           A.               Available Cash. Debtors project $_________________ cash will be available

28   on the Effective Date.

                                                         4
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 1
             B.              Sale of Assets. A sale of property described in the Plan, which the Debtors
 2
     estimate will produce $__________________.
 3
             C.      7       Future disposable income. The Debtors estimate that projected monthly
 4
     disposable income available to creditors for the five year period following confirmation will be
 5
     $6,600.1 This is based on the monthly income of $10,750 and expenses of $10,530. This projection
 6
     is not consistent with Debtors' average monthly income for the six months prior to this case of
 7
     $10,750, as set forth in the Debtors' Statement of Current Monthly Income (Official Bankruptcy Form
 8
     22B) filed with this court for the reasons set forth below:
 9
                     In Mid-March, Debtor Aaron Rubin was laid off from his employment. He has since
10
                     obtained another job at half his previous salary.
11
           D.          Other sources of funding are explained as follows:
12   ______________________________________________________________________________
     ______________________________________________________________________________
13   ______________________________________________________________________________
14   ______________________________________________________________________________
     ______________________________________________________________________________
15
     Risk Factors
16
                     The proposed Plan has the following risks (explain, e.g., sale falls through, debtor
17
     loses employment/business, illness): See Section C above
18
     ______________________________________________________________________________
19   ______________________________________________________________________________
     ______________________________________________________________________________
20

21   IV.     LIQUIDATION ANALYSIS
22                   The Debtors' Schedules A and B, that may have been amended for the purposes of this
23   Disclosure Statement, are attached hereto as Exhibit "D." The Debtors have calculated the liquidation
24   value of each asset as shown below. The Debtors arrived at the net liquidation values that are subject
25   to liens by deducting from the value of the assets the amount of the secured liens and any applicable
26   sales costs, fees, and taxes.
27   1 Under § 1123(a)(8), the plan of an individual debtor shall "provide for
     payment to creditors . . . of all or such portion" of postpetition personal
28

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                    Net liquidation value of Debtors' assets                            $ 6,5002
 2
                    Less estimated chapter 7 trustee expenses                           $ 1,125
 3
                    Less administrative claims and priority tax claims                  $     0
 4
                    Less Other Priority Claims (see Article II of Plan)                 $     0
 5
                    Liquidation value available to general unsecured creditors          $ 3,375
 6
                    Estimated amount general unsecured
 7                  creditors would receive under Debtors' proposed Plan                $6,600
 8
     V.      FEASIBILITY
 9
                    The Plan cannot be confirmed unless the court finds it feasible. A Plan is feasible if
10
     confirmation of the Plan is not likely to be followed by the liquidation, or the need for further
11
     financial reorganization, of the Debtors, unless such liquidation or reorganization is proposed in the
12
     Plan.
13
                    Feasibility by the Effective Date. The Debtors estimate that they will have sufficient
14
     cash on hand on the Effective Date to pay all claims and expenses entitled to be paid in cash on such
15
     date, as shown below.
16

17                  Cash Debtor will have on hand by Effective Date:                    $ 3,000

18                  Less:
                    Administrative claims:                                             - $ 3,000
19
                    Statutory costs and changes:                                       -$
20
                    Other Plan payments payable on Effective Date;                     -$
21
                    Balance after paying these amounts:                                 $      0
22

23   The sources of cash the Debtors will have on hand by the Effective Date, as shown above are:

24

25
     services income "as is necessary for execution of the plan."
26   2 The Debtors held cash or deposit of approximately $15,500 on the Petition
     Date. Of that sum, $4,500.00 was rents from properties which constitute "cash
27   collateral" within the meaning of Bankruptcy Code § 363 and which are subject
     to the liens of various secured creditors. An additional portion of these
     funds, in the sum of $4,500, represent security deposits from tenants These
28   funds, therefore, are not available for distribution to unsecured creditors.

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 1
                    Cash on hand:                                                     $     0
 2

 3                  Sale of Assets:                                                   $     0

 4                  Additional cash the Debtors will accumulate from projected
                    disposable income between now and the Effective Date:            +$ 6,600
 5
                    Borrowing from:________________________________                  +$         0
 6

 7                  Other:________________________________________                   +$         0

 8                                                                       Total:       $ 6,600
 9
                    Feasibility over the life of the Plan. The Debtors have, and project that the Debtors
10
     will receive, enough cash over the life of the Plan to make the required Plan payments based on the
11
     sources described above.
12
                    DATED this 3rd day of June, 2013.
13
                                                      THOMPSON•KRONE•GIBSON, P.L.C.
14

15
                                                      By: /s/ Scott D. Gibson (007395)
16                                                        Scott D. Gibson
                                                      Attorneys for Debtors
17

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 1                                     CERTIFICATE OF SERVICE
 2          Original electronically filed and copies of the foregoing served via the Court’s CM/ECF
 3   Notification System this 3rd day of June, 2013, on all Electronic Case Filing Participants that have
     appeared in the above-captioned case, or U.S. Mail to parties not registered through CM/ECF.
 4
     Renee Sandler Shamblin
 5   United States Trustee
     230 N. First Ave., Suite 204
 6
     Phoenix, AZ 85003
 7
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 8   4375 Jutland Drive, Suite 200
     P.O. Box 17933
 9   San Diego, CA 92177-0933
10   Attorneys for GMAC and Bank of America

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15
     Green Tree Servicing, LLC
16   1400 Turbine Drive
17   Rapid City, SD 57701
     Creditor
18

19   By: /s/ Maria Calderon
20

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